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                      IN THE UNITED STATES DISTRCIT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PARIS WINTERS,                               )
                                             )
                        Plaintiff,           )
                                             )       No. 21-cv-04702
       v.                                    )
                                             )
SOO LINE RAILROAD D/B/A                      )
CANADIAN PACIFIC RAILWAY,                    )
                                             )
                        Defendant.           )

                              PLAINTIFF’S FIRST COMPLAINT

       NOW COMES, Plaintiff, Paris Winters, by and through his attorneys, Integrate Legal,

P.C., and in complaint of Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway states as

follows:

                                         INTRODUCTION

   1. Plaintiff, Paris Winters is an employee of Soo Line Railroad d/b/a Canadian Pacific

       Railway, and brings this case pursuant to the Civil Rights Act of 1964, 42 § 2000e et

       seq., as amended by the Civil Rights Act of 1991.

                                     JURISDICTION AND VENUE

   2. Plaintiff’s claims arise under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

       et seq., as amended by the Civil Rights Act of 1991. Therefore, this Honorable Court has

       jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343(a)(4) and 42 U.S.C. §

       2000e-5(f)(3).

   3. Venue in the district is proper under 28 U.S.C. § 1391(b). The Defendant resides in the

       Northern District, Eastern Division, and the events giving rise to Plaintiff’s claim

       occurred here.
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4. All conditions precedent to jurisdiction have occurred or been complied with:

       a. Plaintiff, Paris Winters (hereinafter “WINTERS”) filed charge No. 2020CA2650

           against Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway County

           (hereinafter “CP”) on June 22, 2020, with the Illinois Department of Human

           Rights, which was cross-filed with the Equal Employment Opportunity

           Commission, (hereinafter “EEOC”), a copy of which is attached hereto as Exhibit

           1.

5. The EEOC issued WINTERS a notice of right to sue on charge No.21b-2020-01473, a

   copy of which is attached hereto as Exhibit 2.

                                        PARTIES

6. Plaintiff, WINTERS, is a citizen of the United States and the State of Illinois and resides

   in Cook County, Illinois. At all times material to the Complaint WINTERS was

   employed by Defendant, CP, in Cook County, Illinois.

7. Defendant, CP, at all times relevant to the Complaint, is a corporation registered and

   domiciled in the State of Illinois, and has been since 1961.

8. At all times material, CP was an employer as defined within the meanings of Title VII.

9. At all times material, CP had a statutory duty to take all reasonable and necessary steps to

   eliminate discrimination and retaliation from the workplace and to prevent it from

   happening in the future.

                       COMMON FACTUAL ALLEGATIONS

10. On or about August of 1997 WINTERS began his employment with Defendant, CP as a

   laborer.

11. WINTERS changed departments in 1998 and moved to the Car Department and worked
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   as a carman for approximately four-years until he was promoted to a lead man at the rip

   track. Thereafter, WINTERS decided he did not want to be on the rip track and moved

   back to carman on or about 2002. WINTERS was thereafter promoted to foreman in

   September 2014.

12. Corey Smith was WINTERS’ direct supervisor while WINTERS was a foreman from

   approximately 2018 to 2020.

13. Smith almost immediately began to harass WINTERS after becoming WINTERS’s

   manager.

14. Beginning on or about September 2018 Smith’s harassment escalated and Smith harassed

   WINTERS, in the following, but not limited to ways:

       a. Continuously accuses WINTERS of being involved in an incident when another

          employee was found sleeping on the job in September 2018;

       b. Maliciously and without cause instigated disciplinary investigations against

          WINTERS;

       c. Harasses WINTERS at work, calling him multiple times a shift for no legitimate

          work related reasoning. On multiple occasions Smith has called WINTERS more

          than 15-times during a work day for no legitimate work-related reason, but rather

          to belittle and put WINTERS down. Often times WINTERS would hear laughter

          in the background when Smith said something particularly belittling to WINTERS

          or got very loud.

       d. Orders WINTERS to complete tasks which are against the rules of CP;

       e. Orders WINTERS to complete tasks which violate the Union contract;

       f. Orders WINTERS to do something and if it does not work say it was stupid and
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           tell others that what WINTERS did was stupid and did not work;

       g. Attempt to coerce WINTERS into working seven days with no overtime pay;

       h. Not allow WINTERS to use motorized vehicles when walking the track even

           though everyone else was using a motorized vehicle and there were vehicles

           available.

15. In 2019 WINTERS began to see a doctor on a monthly basis relating to the stress of

   going to work and being constantly harassed, discriminated against, berated and belittled

   by Smith.

16. In October 2019 and February, March and April of 2020 WINTERS complained to

   human resources and management at CP relating to harassment and race discrimination.

   WINTERS told human resources and management that the harassment and discrimination

   were affecting him both physically and mentally and he had been to see a doctor on

   multiple occasions.

17. CP did nothing and the harassment and discrimination only got worse.

18. On March 13, 2020, Smith called WINTERS over fifteen times for no legitimate work-

   related reason and harassed and belittled WINTERS the entire 12-hour shift.

19. The next day, on March 14, 2020, Smith blamed WINTERS for something that was not

   WINTERS fault and called WINTERS and very loudly yelled at WINTERS telling

   WINTERS it was WINTERS’ fault and belittling WINTERS. WINTERS began to feel

   like he would throw-up and his head began to hurt.

20. WINTERS then told Smith that he was ill and needed to go to the doctor. WINTERS

   advised Smith that he would do his turnover with James Archer. WINTERS completed

   his turnover and drove directly to the hospital.
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21. Upon leaving the hospital WINTERS immediately texted the doctor's note to a

   supervisor.

22. On March 15, 2020 WINTERS called CP’s Human Resources and spoke with Erin.

   WINTERS told Erin that he was being constantly harassed by and discriminated against

   by Corey Smith and that WINTERS was forced to leave work and go to the hospital on

   March 14, 2020 due to the harassment and discrimination. WINTERS told Erin that he

   had submitted a doctor's note to a manager and asked her to please do something to stop

   Corey Smith from harassing him.

23. On March 17, 2020 WINTERS received notice that he was being investigated for

   abandoning his work assignment on March 14, 2020. This accusation is false.

24. In April 2020, WINTERS spoke with Mr. Gibson who was Smith's supervisor and

   complained that Smith was harassing him. Gibson ignored WINTERS and said that he

   cannot just fire WINTERS so they were going to discipline WINTERS to get WINTERS

   disqualified from his position.

25. A disqualification would result in a demotion.

26. On May 11, 2020, a hearing was held relating to the investigation and Mr. Gibson was

   the hearing officer.

27. On May 21, 2020 WINTERS was given a 20-day suspension and demoted for no

   legitimate reason.

28. The demotion included a loss of pay.

29. From the commencement of his employment through present, WINTERS consistently

   performs the duties and responsibilities that meet or exceed the reasonable expectations

   of CP.
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                                         COUNT I
                                   AGE DISCRIMINATION
   30. WINTERS re-allages paragraphs one through twenty-nine (1-29) above as if fully stated
       herein.
   31. WINTERS’s date of birth is October 28, 1965. As such WINTERS is protected by the
       ADEA 29 USC § 621 et seq.
   32. From September 2018 to March 2021, WINTERS was harassed by Corey Smith, his
       direct supervisor when WINTERS was a foreman and his manager’s manager after
       WINTERS was demoted and until Smith left CP in March of 2021.
   33. Similarly situated employees under the age of 40 or significantly younger than
       WINTERS were not treated in the same manner by Smith.
   34. Smith’s conduct created a hostile, intimidating, and offensive work environment which
       interfered with WINTERS’s ability to do his job.
   35. WINTERS demands a trial by jury.
   WHEREFORE, WINTERS prays that this Honorable Court grant judgment in his favor
and against Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway and this Court
grant him the following relief:
   A. Enter a declaratory judgment that the practices complained of herein are unlawful and
       violate the ADEA;
   B. Permanently enjoin Soo Line Railroad d/b/a Canadian Pacific Railway, their agents,
       successors, officers, employees, attorneys, and those acting in concert with them from
       engaging in each of the unlawful practices, policies, customs, and usages set forth herein,
       and from continuing any and all practices shown to be in violation of applicable law;
   C. Order modifications or elimination Soo Line Railroad d/b/a Canadian Pacific Railway’s
       practices, policies, customs and usages set forth herein and all other such practices shown
       to be in violation of applicable law so that they will not discriminate or harass on the
       basis of age;
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D. Compensate and make WINTERS whole for all benefits he would have received but for
   the age discrimination practices of CP;
E. Award WINTERS the costs and disbursements of this action, including reasonable
   attorney’s fees;
F. Award WINTERS punitive damages for Soo Line Railroad d/b/a Canadian Pacific
   Railway’s willful discriminatory conduct; and
G. Grant such other Relief as may be just and proper.


                                     COUNT II
                                   HARASSMENT
36. WINTERS reallages paragraphs one through twenty-nine (1-29) above as if fully stated
   herein.
37. WINTERS is African American. As such WINTERS is a member of a protected class
   under Title VII of the Civil Rights Act of 1964, as amended by the Equal Opportunity
   Act of 1972 and the Civil Rights Act of 1991, 42 U.S.C.A. §§2000e to 2000e-17.
38. At all relevant times WINTERS was performing his duties and responsibilities as an
   employee of CP in a manner that met or exceeded the reasonable expectations of CP.
39. From September 2018 to March 2021, WINTERS was harassed by Corey Smith, his
   direct supervisor when WINTERS was a foreman and his manager’s manager after
   WINTERS was demoted and until Smith left CP in March 2021.
40. Smith’s conduct created a hostile, intimidating, and offensive work environment which
   interfered with WINTERS’s ability to do his job.
41. In September 2018, WINTERS was in the office of the CP and heard managers, including
   Chris Koutsios, Craig Kuhn and Brandon Billingsly, all Caucasian, discussing
   WINTERS, James Archer (African American), Ricky Hall (African American), and
   Kenny Tillman (terminated African American) and laughing about how would you like to
   have to work under "them" and insinuating that it would be very bad and beneath them to
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       have an African American as a supervisor. WINTERS advised them he could hear them
       and if they had something to say they could say it to him directly.
   42. This conduct created a hostile, intimidating, and offensive work environment which
       interfered with WINTERS’s ability to do his job.
   43. Similarly situated employees whose race is not African American were not treated in the
       same manner by Smith or CP.
   44. As detailed above WINTERS made numerous complaints to CP’s management and
       human resources Department relating to the harassment and discrimination he received
       from Smith.
   45. CP failed to take any corrective action regarding the above.
   46. CP’s failure to take corrective action was race discrimination in violation of Title VII of
       the Civil Rights Act of 1964 as amended.
   47. CP’s discriminatory actions caused WINTERS to suffer severe humiliation,
       embarrassment, degradation, physical and emotional distress.
   48. As a direct and proximate cause of the intentional and discriminatory acts of CP
       complained herein, WINTERS suffered and will continue to suffer pecuniary losses,
       emotional distress, pain, suffering, inconvenience, loss of enjoyment of life and other
       non-pecuniary losses.
   49. WINTERS demands a trial by jury.
   WHEREFORE, WINTERS prays that this Honorable Court grant judgment in his favor
and against Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway and this Court
grant him the following relief:
   A. Compensate and make WINTERS whole for all benefits he would have received but for
       the harassment of CP;
   B. Award WINTERS the costs and disbursements of this action, including reasonable
       attorney’s fees;
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C. Award WINTERS punitive damages for Soo Line Railroad d/b/a Canadian Pacific
   Railway’s willful discriminatory and harassing conduct; and
D. Grant such other Relief as may be just and proper.


                                  COUNT III
                             RACE DISCRIMINATION
50. WINTERS reallages paragraphs one through twenty-nine (1-29) above as if fully stated
   herein.
51. WINTERS is African American. As such WINTERS is a member of a class protected
   under Title VII of the Civil Rights Act of 1964, as amended by the Equal Opportunity
   Act of 1972 and the Civil Rights Act of 1991, 42 U.S.C.A. §§2000e to 2000e-17.
52. At all relevant times WINTERS was performing his duties and responsibilities as an
   employee of CP in a manner that met or exceeded the reasonable expectations of CP.
53. From September 2018 to March 2021, WINTERS was harassed by Corey Smith, his
   direct supervisor when WINTERS was a foreman and his manager’s manager after
   WINTERS was demoted, and until Smith left the company in March 2021.
54. Smith’s conduct created a hostile, intimidating, and offensive work environment which
   interfered with WINTERS’s ability to do his job.
55. In September 2018, WINTERS was in the office of the CP and heard managers, including
   Chris Koutsios, Craig Kuhn and Brandon Billingsly, all Caucasian, discussing
   WINTERS, James Archer (African American), Ricky Hall (African American), and
   Kenny Tillman (terminated African American) and laughing about how would you like to
   have to work under "them" and insinuating that it would be very bad and beneath them to
   have an African American as a supervisor. WINTERS advised them he could hear them
   and if they had something to say they could say it directly to him.
56. Smith’s conduct created a hostile, intimidating, and offensive work environment which
   interfered with WINTERS’s ability to do his job.
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   57. Similarly situated employees whose race is not African American were not treated in the
       same manner by Smith or CP.
   58. As detailed above WINTERS made numerous complaints to CP’s management and
       human resources Department relating to the harassment and discrimination he received
       from Smith.
   59. CP failed to take any corrective action regarding the above.
   60. CP’s failure to take corrective action was race discrimination in violation of Title VII of
       the Civil Rights Act of 1964 as amended.
   61. CP’s discriminatory actions caused WINTERS to suffer severe humiliation,
       embarrassment, degradation, physical and emotional distress.
   62. As a direct and proximate cause of the intentional and discriminatory acts of CP
       complained herein, WINTERS suffered and will continue to suffer pecuniary losses,
       emotional distress, pain, suffering, inconvenience, loss of enjoyment of life and other
       non-pecuniary losses.
   63. WINTERS demands a trial by jury.
   WHEREFORE, WINTERS prays that this Honorable Court grant judgment in his favor
and against Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway and this Court
grant him the following relief:
   A. Enter a declaratory judgment that the practices complained of herein are unlawful and
       violate the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991;
   B. Permanently enjoin Soo Line Railroad d/b/a Canadian Pacific Railway, their agents,
       successors, officers, employees, attorneys, and those acting in concert with them from
       engaging in each of the unlawful practices, policies, customs, and usages set forth herein,
       and from continuing any and all practices shown to be in violation of applicable law;
   C. Order modifications or elimination of Soo Line Railroad d/b/a Canadian Pacific
       Railway’s practices, policies, customs and usages set forth herein and all other such
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   practices shown to be in violation of applicable law so that they will not discriminate or
   harass on the basis of race;
D. Compensate and make WINTERS whole for all benefits he would have received but for
   the racially discriminatory practices of CP;
E. Award WINTERS the costs and disbursements of this action, including reasonable
   attorney’s fees;
F. Award WINTERS punitive damages for Soo Line Railroad d/b/a Canadian Pacific
   Railway’s willful discriminatory conduct; and
G. Grant such other Relief as may be just and proper.
                                      COUNT IV
                                    RETALIATION
64. WINTERS reallages paragraphs one through twenty-nine (1-29) above as if fully stated
   herein.
65. Title VII makes it an unlawful employment practice for an employer to retaliate against
   any employee who opposes or otherwise complains about an unlawful employment
   practice.
66. At all relevant times WINTERS was performing his duties and responsibilities as an
   employee of Soo Line Railroad d/b/a Canadian Pacific Railway in a manner that met or
   exceeded the expectations of CP.
67. In the course of his employment, WINTERS was subjected to harassment and emotional
   abuse by his supervisor, acting in his capacity as CP’s agent.
68. As detailed above WINTERS made numerous complaints to CP’s management and
   human resources Department relating to the harassment and discrimination he received
   from Smith.
69. CP failed to take any corrective action regarding the above.
70. Instead, CP demoted WINTERS.
71. WINTERS’ demotion followed his complaints of discrimination within a short period of
   time, thereby raising an inference of retaliatory motivation.
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   72. CP’s failure to take corrective action was retaliatory discrimination in violation of Title
       VII of the Civil Rights Act of 1964, as amended.
   73. CP’s discriminatory and retaliatory actions caused WINTERS to suffer severe
       humiliation, embarrassment, degradation and emotional distress.
   74. The actions of CP are willful and intentional.
   75. As a direct and proximate cause of the intentional and discriminatory acts of CP
       complained herein, WINTERS suffered and will continue to suffer pecuniary losses,
       emotional distress, pain, suffering, inconvenience, loss of enjoyment of life and other
       non-pecuniary losses.
   76. WINTERS demands a trial by jury.
   WHEREFORE, WINTERS prays that this Honorable Court grant judgment in his favor
and against Defendant, Soo Line Railroad d/b/a Canadian Pacific Railway and this Court
grant him the following relief:
   A. Enter a declaratory judgment that the practices complained of herein are unlawful and
       violate the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991;
   B. Permanently enjoin Soo Line Railroad d/b/a Canadian Pacific Railway, their agents,
       successors, officers, employees, attorneys, and those acting in concert with them from
       engaging in each of the unlawful practices, policies, customs, and usages set forth herein,
       and from continuing any and all practices shown to be in violation of applicable law;
   C. Order modifications or elimination Soo Line Railroad d/b/a Canadian Pacific Railway’s
       practices, policies, customs and usages set forth herein and all other such practices shown
       to be in violation of applicable law so that they will not retaliate against employees who
       make complaints of discrimination;
   D. Compensate and make WINTERS whole for all benefits he would have received but for
       the racially discriminatory practices of CP;
   E. Award WINTERS the costs and disbursements of this action, including reasonable
       attorney’s fees;
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   F. Award WINTERS punitive damages for Soo Line Railroad d/b/a Canadian Pacific
      Railway’s willful discriminatory conduct; and
   G. Grant such other Relief as may be just and proper.




                                                             Respectfully Submitted,

                                                               PARIS WITNERS

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